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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION

ANTONIO DEMETRIUS WILLIAMS)                        Criminal Action No. 5:12cr00014
                          )
v.                        )                        MEMORANDUM OPINION
                          )
UNITED STATES OF AMERICA  )                        By: Michael F. Urbanski
    Defendant.            )                        United States District Judge

       Antonio Demetrius Williams, a federal inmate proceeding pro se, has filed a motion

to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. He alleges counsel

provided ineffe~tive assistance by (1) failing to advise him that he faced a mandatory life

sentence if convicted; and (2) failing to object that his two prior Florida cocaine possession

convictions do not qualify a.s felony drug offenses requiring a mandatory life sentence under

21 U.S.C. §§ 841(b)(1)(A) and 802(44).

       The court has determined to conduct an evidentiary hearing to address the factual

dispute underlying Claim 1. As detailed herein, resolution of Claim 2 requires consideration

of a legal argument not squarely addressed by the parties in their legal memoranda, and the

court will permit Williams to submit additional briefing on the issue should he desire to do

so after reviewing this opinion. The court has determined that the interests of justice require

the appointment of counsel for Williams in this case, and an Order to that effect will be

entered today.

                                            I.

       Williams was sentenced to a mandatory term of life imprisonment under 21 U.S.C. §

841(b)(1)(A), having been found guilty of conspiracy to distribute 280 grams or more of
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cocaine base following two prior felony drug offenses in state court in Florida. At the time

he was sentenced to life imprisonment, Williams was only 22 years old.

         Williams' mandatory life sentence stands in stark contrast to his prior state sentences.

On October 3, 2008, Williams pled guilty in the Circuit Court for Palm Beach County,

Florida, to Possession of Cocaine, and was given a time-served sentence of 28 days in jail. A

few months later, on February 3, 2009, the same court sentenced Williams to another time-

served sentence for Possession of Cocaine, this time for 19 days.

         Prior to Williams' federal trial, the government flled a notice under 21 U.S.C. § 851

referencing these drug convictions. ECF No. 96. The government attached certain

documents related to the two prior Florida convictions and one Virginia convictiort. 1 On

their face, the judgments from the Circuit Court for Palm Beach County, Florida reflected

violations of Florida Statute§ 893.13(6)(a), each third-degree felonies. While the§ 851 notice

attached the Florida judgments in each case, the notice did not attach the Florida Rule

3.992(a) Criminal Punishment Code Scoresheet for either conviction. 2

         Williams did not deny committing the two prior Florida drug offenses for which he

served a total of 47 days. Because the government had served a notice under§ 851

10n February 23,2012, Williams was convicted in the Circuit Court of Frederick County, Virginia, of Possession of

Marijuana, more than V2 ounce but less than 5 pounds, with the intent to sell or distribute in violation of Virginia Code
§ 18.2-248.1. Williams was sentenced to three years in the state penitentiary, with all but six months suspended for good
behavior. Williams was served with the federal indictment while serving his Virginia state sentence. Because Williams'
Virginia drug conviction was not final before he committed the§ 841(b)(1)(A) offense in this case, the Virginia
conviction is not a qualifying prior predicate felony drug offense. Thus, the issue of the enhanced sentence under §
841(b)(1)(A) turns on whether Williams' 2008 and 2009 Florida Possession of Cocaine convictions are properly
categorized as felony drug offenses under§ 802(44).

2 The Rule 3.992(a) Criminal Punishment Code Scoresheets for each of Williams' prior Florida Cocaine Possession

convictions surfaced, to the court's knowledge, for the first time as Exhibits A and B to Williams' p.m. se § 2255
Petition. ECF No. 596-1, at 12-13 and 17-18. There is no hint in the record that either counsel for the government or
counsel for Williams were aware of these scoresheets or their potential significance at the time of Williams' federal trial
or sentencing. Williams' Presentence Investigation Report, ECF No. 422, likewise does not mention the Florida
scoresheets. No party raised this issue with the court at sentencing. The court will address these scoresheets infra§ III.
B.

                                                             2
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concerning these two prior drug convictions, the court was required to sentence Williams to

a mandatory term of life imprisonment without release under§ 841(b)(1)(A). Neither at
                                                                                            '-


sentencing nor on appeal did Williams raise an issue as to whether the two Florida drug

convictions met the requirements of§ 802(44).3

         Now proceeding pro se, Williams raises for the first time the issue that his two prior

Florida convictions do not qualify as predicates under§§ 841(b)(1)(A) and 802(44), doing so

through the window of ineffective assistance of counsel. While Williams' brief raises the

issue as to whether his prior Florida drug convictions properly qualify, he cannot benefit

from the statute he cites to support his argument, as it was enacted shortly after his Florida

convictions became final. Nevertheless, the evolving nature of Florida's sentencing scheme

requires the court to take a closer look at whether Williams' Florida Possession of Cocaine

convictions were properly considered to be qualifying predicates necessitating a mandatory

life sentence.

         Accordingly, after reviewing the record and briefs from Williams and the

government, the court concludes pursuant to 18 U.S.C. § 3006A that the interests of justice

require that counsel be appointed for Williams, that an evidentiary hearing be held, and that

the parties be given an opportunity to file supplemental briefs on the issues raised in

Williams' petition.

                                                        II.

         On April 19, 2012, a federal grand jury sitting in Harrisonburg, Virginia, charged

Williams and multiple codefendants with conspiring to distribute and possess with intent to



3 Williams was represented by the same counsel at trial and on appeal.


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distribute 280 grams or more of a mixture or substance containing cocaine base ("crack

cocaine") and six separate counts of crack cocaine distribution in violation of 21 U.S.C. §§

846, 841(a) and 841(b)(1)(A). Williams initially appeared and was arraigned one week later,

on April26, 2012. Thereafter, on May 23, 2012, the United States Attorney filed an

information pursuant to 21 U.S.C. § 851(a)(1), notifying Williams that he was subject to

mandatory life in prison based on two prior felony drug convictions in Florida. ECF No. 96.

Following trial, a jury found Williams guilty of the crack cocaine conspiracy charge and six

counts of crack cocaine distribution. Williams was sentenced on March 20, 2013. As required

by the statutory enhancement, the judgment entered on March 20, 2013 sentenced Williams

to mandatory life in prison on the conspiracy charge and 240 months on each of the

distribution charges, all to run concurrently. Williams filed a timely appeal, which the Fourth

Circuit Court of Appeals denied on February 4, 2014. The Supreme Court denied certiorari

on June 2, 2014. On May 29, 2015, Williams timely filed his§ 2255 petition.

                                            III.

       To state a viable claim for relief under § 2255, a petitioner must prove: (1) that his

sentence was "imposed in violation of the Constitution or laws of the United States," (2)

that "the court was without jurisdiction to impose such a sentence," or (3) that "the sentence

was in excess of the maximum authorized by law, or is otherwise subject to collateral attack."

28 U.S.C. § 2255(a). Williams bears the burden of proving grounds for a collateral attack by a

preponderance of the evidence. Jacobs v. United States, 350 F.2d 571,574 (4th Cir. 1965).

       Criminal defendants have a Sixth Amendment right to effective legal assistance.

Strickland v. Washington, 466 U.S. 668, 687 (1984). The proper vehicle for a defendant to


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raise an ineffective assistance of counsel claim is by filing a§ 2255 motion. United States v.

Baptiste, 596 F.3d 214,216 n.1 (4th Cit. 2010). However, ineffective assistance claims are

not lightly granted; "[t]he benchmark for judging any claim of ineffectiveness must be

whether counsel's conduct so undermined the proper functioning of the adversarial process

that the [proceeding] cannot be relied on as having produced a just result." Strickland, 466

U.S. at 686. Accordingly, in order to establish a viable claim of ineffective assistance of

counsel, a defendant must satisfy a two-prong analysis showing that counsel's performance

fell below an objective standard of reasonableness and establishing prejudice due to

counsel's alleged deficient performance. Id. at 687. When considering the reasonableness

prong of Strickland, courts apply a "strong presumption that counsel's conduct falls within

the wide range of reasonable professional assistance." Id. at 689; see also Gray v. Branker,

529 F.3d 220, 228-29 (4th Cit. 2008). Counsel's performance is judged "on the facts of the

particular case," and assessed "from counsel's perspective at the time." Strickland, 466 U.S.

at 689.

          To satisfy the prejudice prong of Strickland, a defendant must show that there is a

reasonable probability that, but for counsel's unprofessional error, the outcome of the

proceeding would have been different. Id. at 694. "A reasonable probability is a probability

sufficient to undermine confidence in the outcome." Id.

                 A. Claim 1 - Ineffective Assistance of Counsel for Failing to Advise
                    Williams that He Faced a Mandatory Life Sentence if Convicted.

          Williams and his counsel disagree as to whether counsel told Williams that, if

convicted, he was required to serve a mandatory term of life imprisonment without release.

In Claim 1, Williams alleges:

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               [C]ounsel never informed Petitioner that in light of his criminal
               history, that the Government's filing of a § 851 enhancement,
               he faced a mandatory life sentence, if he proceeded to jury
               trial and lost. Counsel discussed with Petitioner at the beginning
               of his representation, his statutory sentencing range (10-years
               to life), but not again thereafter. In their discussions, they
               focused on the career offender status and drug amount.

ECF No. 596-1, at 4. The United States took the deposition ofWilliams' counsel and

attached it as an exhibit to its opposition to Williams' petition. In that testimony, Williams'

counsel afflrmed that he advised Williams that he was fadng mandatory life in ·prison if

convicted on the charges. ECF No. 628-1, at 10.

       Regardless of the factual disagreement between Williams and his counsel, the

government argues that Williams was advised by the United States Magistrate Judge at his

initial appearance and arraignment on April 26, 2012 that if he was convicted of the

conspiracy charge he would face a mandatory life sentence:

               THE COURT: That's what they are saying in Count One, that
               you participated with other people to manufacture and
               distribute crack in an amount in excess of 280 grams. That's the
               charge in Count One.

               Do you understand that?

               THE DEFENDANT: Yes, sir.

               THE COURT: Ms. Wright, what is the range of punishment
               under Count One?

               MS. WRIGHT: Your Honor, the government will be filing
               notice of an 851 enhancement in this case as well. So in that
               case the minimum is life, the maximum is life. It is a felony.
               And the maximum fine is $10 million.

               THE COURT: 10 million?

               MS. WRIGHT: Yes, Your Honor.

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              THE COURT:           Mr. Williams, if you are convicted of
              participating in the criminal conspiracy alleged in Count One
              against you, the government indicated today that it intends
              before that trial to flle what's called an 851 notice. They are
              saying that you have two or more felony - - prior felony drug
              offenses.    If you are convicted of participating in this
              conspiracy, you must be sentenced to life imprisonment in this
              case. And you will be subject to a fine in the amount of $10
              million. Do you understand?

              THE DEFENDANT: Yes, sir.

ECF No. 643, at 9-10. At the time of that hearing, however, no§ 851 notice had been flled.

In fact, Williams' initial appearance and arraignment took place seven days after the

indictment was flied and one day after counsel had ·been appointed for Williams. ECF No.

53. Under these circumstances, the court has determined that it is prudent to conduct an

evidentiary hearing on Claim 1.

              B. Claim 2- Ineffective Assistance of Counsel for Failing to Object to
                 Williams' Florida Possession of Cocaine Convictions as Predicate
                 Felony Drug Offenses Under 21 U.S.C. §§ 841(b)(1)(A) and 802(44).

                  1. Nonapplicability of Florida Statute§ 775.082(10).

       Williams asserts in Claim 2 that his Florida drug convictions do not qualify as

predicate felony drug offenses as defined in 21 U.S.C. § 802(44) under the terms of Florida

Statute§ 775.082(10). Under this statute, a Florida defendant may not be imprisoned for

more than one year for a non-forcible third-degree felony in cases where the total sentence

points are 22 or fewer unless the sentencing court makes written findings that a nonstate

prison sanction could present a danger to the public. Fla. Stat. § 775.082(10). In cases where

§ 775.082(10) applies, "a nonstate prison sanction is the 'presumptive mandatory sentence."'

Ryerson v. State, 189 So. 3d 1047, 1048 (Fla. Dist Ct. App. 2016) (quotingJones v. State, 71

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So. 3d 173, 175 (Fla. Dist. Ct. App. 2011) (The phrase "nonstate prison sanction" "is

commonly understood to mean probation, community control, or imprisonment in the

county jail for up to one year.")).

        The Palm Beach County Circuit Court scored each of Williams' Possession of

Cocaine convictions below 22, 4 made no written findings, and sentenced hitn to time-served

sentences of28 and 19 days. ECF No. 596~1, at 11-21. Under these circumstances, Williams

argues pursuant to Florida Statute§ 775.082(10) that he was subject only to a nonstate

prison sanction, with a jail term not to exceed one year. As such, Williams argues that these

convictions did not qualify as predicate felony drug offenses under 21 U.S.C. § 802(44),

which defines a "felony drug offense" as "an offense that is punishable by imprisonment for

more than one year." This would have the effect of reducing Williams' sentence under 21

U.S.C. § 841(b)(1)(A) from a mandatory term of life imprisonment without release to a term

of not less than 10 years nor more than life.

         As the government's brief in opposition points out, however, Florida Statute§

775.082(10) only applies to offenses committed on or after July 1, 2009, and both of

Williams' convictions came shortly before that date. 5 As such, the government argues that

this statute is inapplicable to Williams' case. Because Williams' Posession of Cocaine

convictions predate the effective date of Florida Statute§ 775.082(10), the court agrees. See

McNeill v. United States, 563 U.S. 816, 825 (2011) (A "federal sentencing court must

determine whether 'an offense under State law' is a 'serious drug offense' by consulting the


4 Florida Statute § 921.0024 requires that a sentencing scoresheet "must be prepared for every defendant who is
sentenced for a felony offense."

s Williams' first conviction was on October 3, 2008, and his second conviction was on February 6, 2009.

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'maximum term of imprisonment' applicable to a defendant's previous drug offense at the

time of the defendant's state conviction for that offense.").

                   2. History of Florida's Sentencing Guidelines and Criminal
                      Punishment Code.

       Nonetheless, a full examination of this issue requires the court to trace the history of

the Florida statutory scheme in place at the time of Williams' state court drug convictions.

Prior to October 1, 1998, Florida had in place a regimen of sentencing guidelines.

       Florida felonies committed between October 1, 1983 and January 1, 1994 were

subject to sentencing guidelines set forth in Rule 3.701 of the Florida Rules of Criminal

Procedure. Rule 3.701(b)(6) provides that "departures from the presumptive sentences

established in the guidelines shall be articulated in writing and made when circumstances or

factors reasonably justify the aggravation or mitigation of the sentence."

       Florida felonies committed on or after January 1, 1994, and before October 1, 199 5

were subject to sentencing guidelines set forth in Rule 3.702 of the Florida Rules of Criminal

Procedure. Rule 3.702(b)(16) establishes a "Presumptive Sentence" determined by

calculating total sentence points. The rule states that "[i]f the total sentence points are less

than or equal to 40, the recommended sentence, absent a departure, shall not be state

prison." In order to depart from this Presumptive Sentence, "a state prison sentence where

the total sentence points are equal to or less than 40 ... must be accompanied by a written

statement delineating the reasons for departure." Fla. R. Crim. P. 3.702(b)(18).

       Florida felonies committed on or after October 1, 1995 and before October 1, 1998

were subject to sentencing guidelines set forth in Rule 3.703 of the Florida Rules of Criminal

Procedure. Rule 3.703(d)(28) provides that "if the total sentence points are less than or equal

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to 40, the recommended sentence, absent a departure, shall not be state prison. The court

may impose any nonstate prison sanction authorized by law, including community control."

Rule 3.703(d)(30) stated that "[d]eparture from the recommended guidelines sentence

provided by the total sentence points should be avoided unless there are circumstances or

factors that reasonably justify aggravating or mitigating the sentence." In order to impose a

state prison sentence "where the total sentence points are equal to or less than 40," the court

must provide "a written statement delineating the reasons for departure." Id.

       Under the guidelines system in effect before October 1, 1998, a Florida trial court

could not impose a sentence departing from the presumptive or recommended sentence set

by the guidelines without providing a written statement of reasons. For example, in Boynton

v. State, 473 So. 2d 703, 704 (Fla. Dist. Ct. App. 1985), the court, noting that "the language

of the sentencing guidelines is clearly mandatory," vacated a prison sentence imposed

without the required written reasons. Id. at 707. The Florida Supreme Court drove home

the point in Pope v. State, 561 So. 2d 554 (Fla. 1990), holding that when an upward

departure from the guidelines is vacated for failure to provide written findings, "the court

must remand for resentencing with no possibility of departure from the guidelines." Id. at

556. Thus, had Williams been sentenced under the Florida guidelines, he could not have

received a s~ntence longer than one year for either of his Possession of Cocaine convictions,

as his total sentence points for each conviction were below 40 and the sentencing court

made no written findings. Had these guidelines been in place at the time of Williams'

Florida convictions, he would have been able to argue that he could not have received

sentences under Florida law meeting the definition of a felony drug offense under 21 U.S.C.


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§ 802(44), and was not required to be sentenced to a mandatory life sentence under 21

U.S.C. § 841(b)(1)(A).6

         Unfortunately for Williams, however, in 1998, Florida replaced its guidelines system

with the Florida Criminal Punishment Code ("CPC"), applicable to all felonies committed

on or after October 1, 1998. Fla. Stat.§ 921.0027. In accordance with the CPC, Florida

instituted Rule 3.704 of the Florida Rules of Criminal Procedure. Rule 3.704 retained the

requirement that the sentencing court calculate total sentence points in a scoresheet but

introduced the concept of the lowest permissible sentence. Fla. R. Crim. P. 3.704(d)(25)

provides:

                  The lowest permissible sentence is the minimum sentence that
                  may be imposed by the trial court, absent a valid reason for
                  departure. The lowest permissible sentence is any nonstate
                  prison sanction in which the total sentence points equals or is
                  less than 44 points, unless the court determines within its
                  discretion that a prison sentence, which may be up to the
                  statutory maximum for the offenses committed, is appropriate.

Under the CPC, downward departures from the lowest permissible sentence were prohibited

unless reasonably justified under certain statutory factors and accompanied by a written

statement by the sentencing court delineating the reasons for the departure. Fla. Stat. §

921.00265; Fla. R. Crim. P. 3.704(d)(27). No similar provision existed in the CPC for

sentences imposed above the lowest permissible sentence, as Florida Statute § 921.002(g)

provided that "[t]he trial court judge may impose a sentence up to and including the

statutory maximum for any offense." In other words, while the CPC required the sentencing

6 Because this sentencing scheme was not in place when Williams committed his prior state drug offenses, the court

need not consider whether the Florida system more nearly resembled the Washington sentencing scheme addressed in
United States v. Rodriguez, 553 U.S. 377 (2008), the North Carolina sentencing scheme addressed in United States v.
Simmons, 649 F.3d 237 (4th Cir. 2011), or the Iowa sentencing system addressed in United States v. Haltiwanger, 637
F.3d 881 (8th Cir. 2011).

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court to explain in writing its reasons for departing below the lowest permissible sentence,

the sentencing court was not similarly limited in imposing a sentence above the lowest

permissible sentence up to the statutory maximum. See Bryant v. State, 148 So. 3d 1251,

1258 (Fla. 2014) ("[T]he language of the CPC ... does not contemplate upward departure

sentences, because generally the statutory maximum sentence is the highest possible

sentence for any crime.").

       As noted above, by enacting Florida Statute§ 775.082(10), Flotida imposed just such

a restriction for offenses committed after July 1, 2009. "In 2009, due to an ever-increasing

prison population, the cost of prison building and operation, and the downturn in the

economy, the Florida Legislature enacted section 775.082(10). This was an effort to stem the

tide of prison commitments." Porter v. State, 110 So. 3d 962, 963 (Fla. Dist. Ct. App. 2013).

"The practice of upward departure sentences was reinstated in 2009, when the Legislature

enacted subsection (10) of section 775.082, Florida Statutes, which became effective July 1

of that year." Bryant, 148 So. 3d at 1258. New subsection (10) provided as follows:

              (1 0) If a defendant is sentenced for an offense committed on or
              after July 1, 2009, which is a third degree felony but not a
              forcible felony as defined in § 776.08, and excluding any third
              degree felony under chapter 810, and if the total sentence points
              pursuant to § 924.0024 are 22 points or fewer, the court must
              sentence the offender to a nonstate prison sanction. However, if
              the court makes written findings that a nonstate prison sanction
              could present a danger to the public, the court may sentence the
              offender to a state correctional facility pursuant to this section.

Fla. Stat.§ 775.082(10). "The enactment was a mandated mitigation of an otherwise

available maximum penalty. The safety valve to this mandated mitigation was the discretion

given to the trial court to adhere to the Criminal Punishment Code in lieu of the mandated


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mitigation of the defendant's sentence when the trial court made a written finding that the

defendant was a 'danger to the community."' Porter, 110 So. 3d at 963.

                   The clear purpose and obvious intent [ofj section 775.082(10)
                   was to keep certain offenders out of the state prison system.
                   The statute operates similarly to the pre-Criminal Punishment
                   Code sentencing guidelines by establishing a presumptive
                   sentence from whlch the trial court may deviate up to the
                   statutory maximum in limited circumstances and only if the
                   court explains its reasons in writing.

Jones v. State, 71 So. 3d 173, 175 (Fla. Dist. Ct. App. 2011) (footnotes omitted)J

         In consistent fashlon, Florida amended Rule 3.704 to add a corresponding provision,

Rule 3.704(29), on September 9, 2009. In re Amendments to Florida Rules of Criminal

Procedure 3.704 and 3.986, 22 So. 3d 1 (Fla. 2009). New Rule 3.704(29) provided as follows:

                   (20) If the total sentence points equal 22 or less, the court must
                   sentence the offender to a nonstate prison sanction unless it
                   makes written findings that a nonstate prison sanction could
                   present a danger to the public.

Fla. R. Crim. P. 3.704(29).

                        3. Application to Antonio Williams' Sentence.

         What does thls hlstory mean for Antonio Williams? Williams' predicate felony drug

offenses, for Possession of Cocaine in violation of Florida Statute § 893.13(6)(a), were non-

forcible thlrd- degree felonies punishable by a term of imprisonment up to five years.

Williams committed the first offense on September 6, 2008 and the second on December 3,



7 The legislative history of§ 775.082(10) reinforces its significance.
                                                                     The Florida legislative staff analysis explained that
"[u]nder current law a judge can sentence any third degree felon for up to five years in prison regardless of the total
sentence score. In the last few years thousands of offenders whose sentence points are under the 44 point threshold
recommended for a prison sanction have been sentenced to state prison. The absence of adequate diversionary
programs and the overcrowding of jails have reportedly encouraged this trend of sending more low-level offenders to
state prison." See Fla. Comm. On Ways & Means, Bill Analysis & Fiscal Impact Statement for CS/SB 1722, at 3 (Apr. 6,
2009) (quoted in Jones, 71 So. 3d at 175, n.4).

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2008. Williams incurred 16 total sentence points for his flrst offense, and 17.6 for his second.

Neither offense was forcible. No written reasons were provided for the 28-day and 19-day

time-served sentences imposed pursuant to plea agreements.

       Because Williams' offenses were committed after October 1, 1998, the Florida CPC,

and not the preceding Florida guidelines, applied to these offenses. Had Williams'

convictions occurred prior to October 1, 1998, he could have argued that his convictions

were not qualifying felony drug offenses under 21 U.S.C. § 802(44) because (1) each offense

scored less than 40 points, and (2) the sentencing court provided no written reasons to

depart upwards from a nonstate prison sanction. Absent written reasons, the court was

bound to impose a sentence of one year or less, below the threshold for a felony drug

offense under§ 802(44).

       Likewise, because Williams' offenses were committed before July 1, 2009, the

effective date of Florida Statute § 77 5.082(1 0) and before Florida Rule of Criminal

Procedure 3.704(29) was implemented on September 9, 2009, he may not beneflt from the

restrictions in those provisions limiting the ability of a sentencing court to impose a nonstate

prison sanction for offenses scoring below 22 total sentence points.

       In short, because Williams was convicted of offenses occurring after the Florida

guidelines were replaced by the CPC but before the July 1, 2009 amendments to the CPC, he

cannot argue under those provisions that his 28-day and 19-day time-served sentences were

not felony drug offenses as deflned in 21 U.S.C. § 802(44). This conclusion is consistent

with decisions rendered by Florida's federal courts applying 21 U.S.C. §§ 841(b)(1)(A) and

802(44) to prior convictions of Florida's third-degree felony drug possession statute, Florida


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Statute§ 893.13(6)(a), in other cases. See United States v. Neal, 520 F. App'x 794, 795 (11th

Cit. 2013) ("Because Neal's conviction for cocaine possession under§ 893.13(6)(a) was

punishable by more than one year of imprisonment, it constituted a 'felony' drug offense, 21

U.S.C. § 802(44), and he was subject to the 120-month mandatory minimum in§

841(b)(1)(B) following the government's filing of its§ 851 notice."); United States v. Preston

Thomas, Nos. 8:01cr70, & 8:05cv580, 2010 WL 1379908, at *1 (M.D. Fla. Mar. 31, 2010)

("Each of Thomas's prior convictions for 'simple' possession of cocaine is a 'felony drug

offense' as defined in Section 802(44) and qualifies for an enhanced sentence under Section

841(b)."); Adrian Thomas v. United States, Nos. 8:13cv215, & 8:07cr203, 2013 WL 4855067,

at *6 (M.D. Fla. Sept. 11, 2013) ("A conviction for possession of cocaine pursuant to Fla.

Stat. § 893.13(6)(a) constitutes a felony drug offense.").

       In sum, at the time of Williams' two convictions on October 3, 2008 and February 6,

2009 for Possession of Cocaine in violation of Florida Statute§ 893.13(6)(a), he was subject

to the statutory maximum sentence for a third-degree felony of five years. Fla. Stat.§

921.002(1)(g) ("The trial court judge may impose a sentence up to and including the

statutory maximum for any offense."). Therefore, Williams' October 3, 2008 and February 6,

2009 Possession of Cocaine convictions appear to meet the requirements of 21 U.S.C. §

802(44), which defines the term "felony drug offense" to mean an offense punishable by

imprisonment for more than one year under any law-state, federal or foreign-that

prohibits or restricts conduct relating to narcotic drugs. '"[T]he qualification of a prior

conviction [as a sentencing predicate] does not depend on the sentence [a defendant] actually

received but on the maximum sentence' permitted for his offense of conviction." United


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States v. Berdan-Flores, 786 F.3d 309, 316 (4th Cir. 2015) (brackets in original) (quoting

United States v. Valdovinos, 760 F.3d 322, 327 (4th Cir. 2014)). In other words, because

Williams' Palm Beach County convictions were third-degree felonies punishable by a term of

imprisonment of up to 5 years under the sentencing scheme in place in Florida at the time,

each of them appear to qualify as a "prior conviction for a felony drug offense" under 21

U.S.C. § 841(b)(1)(A)(ii), requiring the mandatory life sentence.

                                             IV.

       Prior to his illegal foray into Virginia, Antonio Williams pled guilty to two Florida

cocaine possession felonies, and received time-served sentences of 28 and 19 days. At the

time, Williams was 18 years old. Just four years later, following the jury's finding of guilt,

Williams, then only 22 years old, was sentenced to a mandatory term of life imprisonment

without release under 21 U.S.C. § 841(b)(1)(A). One cannot help being struck by the

enormous difference between Williams' state sentences and his federal one. After

exhaustively examining the issue of whether Williams' Florida 2008 and 2009 Possession of

Cocaine convictions qualify as felony drug offenses under 21 U.S.C. § 802(44), the court

must conclude that the mandatory life sentence imposed on Williams, however incongruous

in light of the brevity of his predicate state convictions, was lawful. Nevertheless, because

neither party has had a chance to fully brief the issue of the qualification of Williams' prior

state court convictions under 21 U.S.C. § 802(44), and because of the importance of this

issue to Williams' sentence, the court will allow Williams' appointed habeas counsel to file a

supplemental brief addressing these issues thirty (30) days before the date the evidentiary




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hearing is scheduled. The government may file any brief in response fourteen (14) days after

service of Williams' supplemental brief.

       An appropriate Order will be entered this day.


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